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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater        *
   Horizon” in the Gulf of Mexico, on April       *   MDL No. 2179
   20, 2010                                       *
                                                  *   SECTION: J
                                                  *
This document relates to all actions.             *
                                                  *   HONORABLE CARL J. BARBIER
                                                  *
                                                  *   MAGISTRATE JUDGE SHUSHAN
                                                  *
                                                  *


Bon Secour Fisheries, Inc. et al., on behalf of   *
themselves and all others similarly situated,     *   No. 12-970
                                                  *
              Plaintiffs,                         *   SECTION: J
                                                  *
v.                                                *
                                                  *   HONORABLE CARL J. BARBIER
BP Exploration & Production Inc.;                 *
BP America Production Company;                    *   MAGISTRATE JUDGE SHUSHAN
BP p.l.c.,                                        *
                                                  *
              Defendants.                         *
                                                  *
                                                  *


     EXHIBITS TO DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES
            SETTLEMENT AGREEMENT AS AMENDED ON MAY 2, 2012
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                                EXHIBITS

Exhibit Number                     Document                      Bates Range
      1A                 Map of Economic Loss Zones             028314-028328
      1B               Geographical Definitions of Zones        028269-028290
      1C            Zone Classifications and Implementation         26397
       2                       Tourism Definition               028973-028988
       3             Seafood Distribution Chain Definitions     028950-028954
      4A           Documentation Requirements for Business      026539-026542
                             Economic Loss Claims
     4B               Causation Requirements for Business        028725-028738;
                             Economic Loss Claims                028779-028780
     4C              Compensation Framework for Business        026294 - 026298;
                             Economic Loss Claims                028779-028780
     4D          Attachment A - Compensation Framework for
                  Business Economic Loss Claims - Fixed and
                                  Variable Costs                    28778
     4E             Addendum to Compensation for Business       028781-028786
                   Economic Loss Claims - Compensation for
                           Spill-Related Cancellations
      5           Compensation for Multi-Facility Businesses    028019-028022
      6            Failed Business Compensation Framework       028690-028704
      7             Framework for Start-Up Business Claims      028661-028674
     8A             Framework for Individual Economic Loss      028839-028890
                                     Claims
     8B           Individual Economic Loss Claims Examples      028582-028607
     8C          Addendum Regarding Compensation Related
                 to a Claimant’s Loss of Employment Related
                 Benefits Income as a Result of the DWH Spill   025226-025235
     8D               Addendum to Individual Framework          027375-027392
     8E          Addendum Regarding Interviews of Claimants     027180-027181
                 Alleging Individual Economic Loss and Other
                   Individuals Providing Sworn Statements in
                             Support of Such Claim
       9               Framework for Subsistence Claims         028015-028018
      10                Seafood Compensation Program            029298-029392
     11A           Compensation Framework for Coastal Real      027505-027537
                                 Property Claims
     11B         Appendix A to Compensation Framework for       025288-025355
                  Coastal Real Property Claims: Coastal Real
                           Property Claim Zone Map
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Exhibit Number                     Document                       Bates Range
     11C         Appendix D to Compensation Framework for        025356-025498
                 Coastal Real Property Claims: Eligible Parcel
                         Compensation Category Map
     12A         Compensation Framework for Wetlands Real        027808-027838
                                Property Claims
     12B         Appendix A to Compensation Framework for        028028-028039
                   Wetlands Real Property Claims: Wetlands
                        Real Property Claim Zone Map
     12C         Appendix C to Compensation Framework for        028040-028051
                    Wetlands Real Property Claims: Eligible
                      Parcel Compensation Category Map
     12D         Appendix D to Compensation Framework for        028052-028063
                    Wetlands Real Property Claims: Area of
                            Potential Eligibility Map
     13A          Compensation Framework for Real Property       026375-026384
                                      Sales
     13B                Appendix A Real Property Sales           026307-026374
                            Compensation Zone Map
     14          Compensation Framework for Vessel Physical      027893-027905
                                Damage Claims
     15               RTP Chart (Risk Transfer Premium)          028739-028742
     16                     Excluded Industries Chart            026686-026693
     17                  Oil & Gas Industry Exclusions           026694-026703
     18          Economic Loss and Property Class Definition     028759-028772
                                   Exclusions
     19           Industry Types Subject to Review by Claims     026613-026631
                  Administrator for Potential Moratoria Losses
      20                     Other Released Parties              028895-028899
      21                  Assignment and Protections             028989-029000
      22                      Gulf Coast Area Map                    28894
      23                   Specified Gulf Waters Map             028891-028893
     24A         BP Corporation North America Inc. Guarantee     029261-029267
     24B                  BP PLC Back-up Guarantee               029001-029008
      25         Procedures for Filing and Briefing of Appeals   028955-028956
      26                       Individual Release                029268-029288
      27                         Fees and Costs                  029289-029297
